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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  ROSE, JR., et al.,

               Plaintiffs,


                 v.                                   Civil Action No. 1:19-cv-2848 (JEB)

  XAVIER BECERRA, et al.,

                             Defendants.


      FEDERAL DEFENDANTS’ RESPONSE TO INTERVENOR-DEFENDANT
    INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION’S MOTION
        FOR AN ADMINISTRATIVE STAY AND STAY PENDING APPEAL

       Pursuant to this Court’s July 16, 2024, Minute Order, the Federal Defendants file this

response to Intervenor-Defendant Indiana Family and Social Services Administration’s Motion for

an Administrative Stay and Stay Pending Appeal, ECF No. 73. The Federal Defendants take no

position on Intervenor-Defendant’s motion.

Dated: July 18, 2024                         Respectfully submitted,

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                                             /s/ Jacob S. Siler
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